Case 2:05-cr-02075-EFS   ECF No. 1693   filed 05/20/08   PageID.8961 Page 1 of 5
Case 2:05-cr-02075-EFS   ECF No. 1693   filed 05/20/08   PageID.8962 Page 2 of 5
Case 2:05-cr-02075-EFS   ECF No. 1693   filed 05/20/08   PageID.8963 Page 3 of 5
Case 2:05-cr-02075-EFS   ECF No. 1693   filed 05/20/08   PageID.8964 Page 4 of 5
Case 2:05-cr-02075-EFS   ECF No. 1693   filed 05/20/08   PageID.8965 Page 5 of 5
